                          J. N.Document #: 1 Filed: 02/20/08 Page 1 of 14 PageID #:1
           Case: 1:08-cv-01060
       FILED
FEBRUARY 20, 2008
   MICHAEL W. DOBBINS
CLERK, U.S. DISTRICT COURT
                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION
              Khaled A. Shair                               )
                                      Plaintiff,            )       Civil Action No.:
                                                            )
                                      vs.                   )
                                                            )
              Qatar Islamic Bank,                           )       JURY TRIAL DEMANDED
              Khalid Bin Ahmad Al Swaidi,
              Abdellatif Al Meer,
                                                            )
                                                            )
                                                                                             08 C 1060
                     and                                    )                            JUDGE LEFKOW
              Chaudhary Mohammad Wasi,                      )                       MAGISTRATE JUDGE DENLOW
                                  Defendants.               )


                                                    COMPLAINT

                     Plaintiff, Khaled A. Shair (“Plaintiff”), by and through his attorney, Bruce

              de’Medici, and for his complaint against Defendants, Qatar Islamic Bank (“QIB”), Mr.

              Khalid Bin Ahmad Al Swaidi (‘Al Swaidi”), Dr. Abdullatif Al Meer (“Al Meer”), Mr.

              Chaudhary Mohammad Wasi (“Wasi” and, together with QIB, Al Swaidi, and Al Meer,

              collectively, “Defendants”) , alleges as follows:

                                                         Introduction

                     1.      On or about March 21, 2004, officers of QIB met in Chicago, Illinois with

              the Plaintiff and others to discuss the establishment of a commercial bank in the United

              States which would provide banking services based upon Islamic banking principles.

                     2.      At the March 21, 2004 meeting, the officers of QIB authorized and

              directed Plaintiff to organize a commercial bank to be named “U.S. Finance House”

              (“U.S. Finance House”), headquartered in Chicago, Illinois, and licensed under United

              States or Illinois state banking laws, with Plaintiff to be appointed as Chief Executive

              Officer of said bank.


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       3.      Shortly after the March 21, 2004 meeting, Defendants entered into several

written and oral agreements with Plaintiff and several specific written and oral

commitments to Plaintiff to undertake the task of organizing and licensing the bank,

which commitments included hiring Plaintiff to advise Defendants regarding organizing

the bank, employing necessary services and consultants, locating and equipping the

necessary banking facilities, employing Plaintiff as the Chief Executive Officer of the

bank in organization, reimbursing the significant expenses of organizing the bank, and

funding the re4gulatory capital requirements of the bank.

       4.      At the time of the March 21, 2004 meeting and when the several written

and oral agreements and commitments were entered into, Plaintiff was gainfully

employed as Managing Director by the holding company of several United States

domestic banks and President and Chief Executive Officer of one of its subsidiaries. In

reasonable and foreseeable reliance upon the written and oral agreements and

commitments of Defendants, and with the knowing inducement by Defendants, Plaintiff

terminated his gainful employment and undertook the arduous full-time task of

organizing and licensing the bank on behalf of Defendants.

       5.      Defendants breached all written and oral agreements with the Plaintiff and

failed to fulfill any of the written and oral commitments to Plaintiff, despite repeated

demands from Plaintiff and repeated assurances from Defendants inducing Plaintiff to

terminate his gainful employment, and continue serving Defendants.

       6.      The actions and failures of Defendants to fulfill their written and oral

agreements and commitments to Plaintiff resulted in loss of employment and income by

Plaintiff, non-payment of agreed fees, expenses and salary due Plaintiff, severe damage




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to the reputation of Plaintiff in the United States commercial banking and investment

banking community, and direct costs and expenses of Plaintiff, all of which were

intentional, foreseeable and probable outcomes of Defendants’ actions and breaches.

                                               Parties

          7.    Plaintiff Khaled A. Shair is an individual, citizen of the United States of

America, with a principal residence in the State of Illinois.

          8.    On information and belief, Defendant Qatar Islamic Bank is a banking

organization organized under the laws of the State of Qatar, headquartered in Doha,

Qatar, and operating in several countries, including the United States, and maintains

banking accounts, investment accounts and direct investments throughout the United

States.

          9.    On information and belief, Defendant Khalid Bin Ahmad Al Swaidi is a

citizen and resident of the State of Qatar and was, at all relevant times, the Chairman and

Managing Director of QIB and an organizer of U. S. Finance House.

          10.   On information and belief, Defendant Chaudhary Mohammad Wasi is a

citizen and resident of the State of Qatar, and was, at all relevant times, the Chief

Financial Officer of QIB and an organizer of U. S. Finance House.

          11.   On information and belief, Defendant Dr. Abdullatif Al Meer is a citizen

and resident of the State of Qatar and a permanent resident of the United States and may

maintain a residence in the State of New York, and was, at all relevant times, the

Assistant General Manager of QIB and an organizer of U. S. Finance House.

                                      Jurisdiction and Venue

          12.   Jurisdiction arises pursuant to 28 U.S.C. § 1332 because the amount in




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controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and it

involves claims or controversies between citizens of different states. There is complete

diversity of citizenship in this case, because Plaintiff is citizen of Illinois and Defendants

are all citizens of, or organized under the laws of, a foreign country, or residents of the

United States residing in a different state or foreign country.

        13.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 (a) and (c),

diversity of citizenship between Plaintiff, who resides in the district, and Defendants, and

a substantial part of the events giving rise to the claims herein occurred exclusively in

this district, and Defendants are subject to personal jurisdiction due to their activities

conducted in this district.

                                 Organizing U.S. Finance House

        14.     On or about March 21, 2004, Defendants met the Plaintiff in Chicago,

Illinois to discuss the organization of U.S. Finance House, as an Illinois state licensed full

service bank providing banking services based upon Islamic banking principles, and

authorized Plaintiff to undertake all necessary steps to organize and obtain required

banking licenses for U.S. Finance House, agreeing to compensate Plaintiff for his

services as Chief Executive Officer of U.S. Finance House in organization.

        15.     On March 28, 2004, Defendant QIB authorized and directed Plaintiff in

writing, signed by Defendant Al Meer, to establish U.S. Finance House in Illinois, with a

target opening of October 2004. See Exhibit A hereto.

        16.     On April 26, 2004, Defendants met with the Plaintiffs in Doha, Qatar to

further discuss the organization and licensing of U.S. Finance House. At these meetings

the details of organizing, funding and licensing U.S. Finance House were confirmed by




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Defendants, including hiring and compensating Plaintiff for services to be rendered by

Plaintiff in this regard as Chief Executive Officer of U.S. Finance House in organization,

and offering Plaintiff the position of Chief Executive Officer of U.S. Finance House.

       17.     On April 28, 2004 QIB entered into a written contract (the “Employment

Agreement”), signed by Defendant Al Swaidi, engaging Plaintiff initially as a consultant

until confirmation by U.S. Finance House of Plaintiff’s appointment as Chief Executive

Officer of U.S. Finance House, with remuneration “in line with American Finance

Industry Standards.” See Exhibit B hereto.

       18.     In July 2004, Plaintiff completed a satisfactory feasibility study and

business plan supporting the likely success of U.S. Finance House as a licensed state

bank to conduct banking services in Illinois.

       19.     On or about September 9, 2004 Defendants confirmed the officers of U.S.

Finance House, appointing Wasi as Chief Financial Officer and establishing the annual

salary of the Chief Financial Officer at $300,000. See Exhibit C hereto.

       20.     On or about September 9, 2004, Defendant QIB executed a written

guaranty of rents, signed by Defendant Wasi, thereby authorizing the lease of banking

premises for U.S. Finance House in Chicago. See Exhibit D hereto.

       21.     At a meeting of the organizers of U.S. Finance House, held on October 3

and 4, 2004, in London, England, the organizers of U.S. Finance House, including the

Defendants, confirmed appointment of officers of U.S. Finance House, including the

appointment of Plaintiff as Chief Executive Officer, approved the required capital

funding commitment, and authorized all other steps necessary to complete the




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organization of U.S. Finance House as a licensed Illinois state bank. These actions are

reflected in the Minutes of the Meeting of Organizers. See Exhibit E hereto.

        22.     Upon returning to the United States from the Meeting of Organizers held

by Defendants, at the behest of and with the knowing inducement by Defendants,

Plaintiff terminated his gainful employment as Managing Director of Founders Group,

Inc., a multi-bank holding company of eight successful FDIC member banks, and as

President and Chief Executive Officer of Interbanx Southwest, Inc., a wholly owned

subsidiary of Founders Group, Inc., and undertook the full-time, arduous task of

organizing and licensing the bank on behalf of Defendants, pursuant to the Employment

Agreement.

        23.     From October 2004 until February 2006, Plaintiff dutifully performed the

tasks customarily performed by a Chief Executive Officer of a bank in organization,

including without limitation: preparing feasibility studies and business plan, locating and

securing appropriate banking facilities at 207 South LaSalle Street, Chicago, Illinois,

meeting with regulatory authorities and members of the commercial and investment

banking community, establishing key contacts in the target customer base, interviewing

and evaluating prospective employees, arranging Federal Reserve Board, Homeland

Security and Federal Bureau of Investigation (“FBI”) background checks of Defendants

as organizers of a United States domiciled bank, and Defendant QIB, and preparing and

filing all necessary documentation for the application of U.S. Finance House to conduct

banking activities in the State of Illinois.

        24.     From October 2004 until February 2006, Plaintiff communicated regularly

with the banking regulatory authorities in the State of Illinois, who were very positive




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about the prospects of the licensing of U.S. Finance House to conduct banking services in

Illinois. See Exhibit F hereto.

       25.     From October 2004 until February 2006, Plaintiff regularly communicated

to Defendants the developments and progress of the organization and licensing of U.S.

Finance House as a licensed Illinois state bank, urging Defendants to complete the

necessary personal and financial information forms in order to move forward with the

formal application process with the banking regulatory authorities.

       26.     Despite repeated requests to Defendants by Plaintiff, for deposit of the

regulatory capital of U.S. Finance House, previously authorized by Defendants, and

continued and repeated knowing assurances and commitments by Defendants to so

deposit said regulatory capital, the required bank capital was never deposited.

       27.     Despite repeated requests to Defendants by Plaintiff, and continued and

repeated knowing assurances and commitments from Defendants, Defendants withheld

necessary personal and financial information, Federal Reserve Board, FBI and Homeland

Security background check forms, necessary financial documentation, and capital

required for Plaintiff to complete the organization and licensing of U.S. Finance House to

conduct banking services in the state of Illinois.

       28.     Despite repeated demands to Defendants by Plaintiff for payment of his

compensation and expenses, and continued and repeated knowing assurances and

commitments by Defendants to compensate Plaintiff, no payments were made to Plaintiff

after an initial payment of approximately $30,000, paid in mid-2004.

       29.     In a letter in the Arabic language signed by Defendant Al Meer, dated

December 16, 2005, placed with a courier service on February 16, 2006, and received by




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Plaintiff on February 21, 2006 (the “February 21 Notification”), Defendants abruptly

notified Plaintiff that Defendants determined to terminate the organization of U.S.

Finance House, while concurrently commending Plaintiff’s efforts and activities on

behalf of Defendants.

        30.     Despite repeated demands to Defendants by Plaintiff, prior to and after the

February 21 Notification, for payment of his compensation and expenses during the

period from April 28, 2004 through February 21, 2006, no additional payments were

made to Plaintiff, although Defendant QIB admitted in writing, signed by El Sayed

Hammouda, First Executive Manager, Legal Affairs Department of Defendant QIB, that

additional payments were due Plaintiff. See Exhibit G hereto.



                                             Count I
                                        Breach of Contract

        31.     Plaintiff realleges and incorporates by reference paragraphs 1 through 30,

as fully set forth herein.

        32.     Plaintiff has offered the services to Defendants.

        33.     Defendant accepted Plaintiff’s offer in writing pursuant to the

Employment Agreement.

        34.     Plaintiff fully and conscientiously performed the agreed services.

        35.     Plaintiff requested Defendants pay the agreed value of the services and,

although Defendants repeatedly assured Plaintiff payment for the services, Defendants

have failed to make any payment.

        WHEREFORE, Plaintiff respectfully request judgment against Defendants in the

amount of $672,083.33, representing the value of the contract, plus $30,000.00 in



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reimbursable expenses; costs and attorney’s fees pursuant to any available statutory or

common law basis; and further relief as the Court shall deem just and proper.

                                            Count II
                                        Quantum Meruit
                              (In the Alternative to Other Counts)


        36.     Plaintiff realleges and incorporates by reference paragraphs 1 through 30,

as fully set forth herein.

        37.     In the event that the written and oral agreements are not enforceable,

Plaintiff is entitled to recover in quantum meruit.

        38.     At the request, encouragement and inducement of Defendants, Plaintiff

terminated his gainful employment, refrained from offering his services to other clients or

potential employers, ceased discussions with such other clients and potential employers,

and performed valuable full-time services to Defendants.

        39.     Plaintiff fully and conscientiously performed the agreed services.

        40.     Defendants enjoyed the value of said services, encouraged and knowingly

induced Plaintiff to perform the Services, knowingly took advantage of said services, and

refused to pay Plaintiff for the fair and reasonable value of said services.

        41.     Defendants have thus been unjustly enriched through the enjoyment of the

Services.

        WHEREFORE, Plaintiff respectfully request judgment against Defendants in the

amount of $672,083.33, the fair and reasonable value of the services rendered to

Defendants, plus $30,000.00 in reimbursable expenses; costs and attorney’s fees pursuant

to any available statutory or common law basis; and further relief as the Court shall deem

just and proper.



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                                             Count III
                                       Promissory Estoppel
                               (In the Alternative to Other Counts)


        42.      Plaintiff realleges and incorporates by reference paragraphs 1 through 30,

as fully set forth herein.

        43.      From on and about March 21, 2004, through February, 2006, Defendants

requested, encouraged and knowingly induced Plaintiff to perform services for the benefit

of Defendants.

        44.      From on and around March 21, 2004, through February, 2006, Defendants

promised Plaintiff compensation for the services rendered.

        45.      As a result of the promises made by Defendants and the knowing

inducement of Defendants, Plaintiff terminated his gainful employment, refrained from

offering his services to other clients or potential employers, ceased discussions with such

other clients and potential employers, and performed valuable full-time services to

Defendants.

        46.      Plaintiff notified Defendants that, on the basis of Defendants’ agreements

and promises, Plaintiff terminated his gainful employment, refrained from offering his

services to other clients and potential employers, cease discussions with such other

clients and potential employers, and performed full-time services to Defendants.

        47.      Plaintiff’s reliance on Defendants’ promises was expected, foreseeable

and knowing by Defendants.

        48.      Plaintiff relied on Defendants’ promises to his detriment, with the full

knowledge, inducement and encouragement of Defendants, and has been economically

damaged.



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        WHEREFORE, Plaintiff respectfully request judgment against Defendants in the

amount of $672,083.33, the fair and reasonable value of the services rendered, plus

$30,000.00 in reimbursable expenses; costs and attorney’s fees pursuant to any available

statutory or common law basis; and further relief as the Court shall deem just and proper.

                                            Count IV
                                              Fraud
                                  (In Addition to Other Counts)


        49.     Plaintiff realleges and incorporates by reference paragraphs 1 through 30,

as fully set forth herein.

        30.      Defendants promised orally and in writing to pay Plaintiff’s reasonable

compensation for the services performed by Plaintiff, and misleadingly approved the

organization, capitalization and licensing of U.S. Finance House, with no intention to file

the required personal background and financial information and regulatory documents, or

to provide the promised capitalization of U.S. Finance House, so as to intentionally,

willfully and knowingly mislead the Plaintiff to terminate his gainful employment, refrain

from offering his services to other clients or potential employers, cease discussions with

such other clients and potential employers, and perform valuable full-time services to

Defendants, including without limitation, presenting U.S. Finance House to Illinois State

banking regulatory authorities, the commercial banking and investment banking

communities, the target customer base, and prospective officers and employees.

        50.     As a result of the fraudulent representations and promises made by

Defendants to Plaintiff, Plaintiff terminated his gainful employment, refrained from

offering his services to other clients or potential employers, ceased discussions with such




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other clients and potential employers, performed valuable full-time services to

Defendants.

       51.     As a result of the fraudulent representations and promises made by

Defendants to Plaintiff, Plaintiff utilized on behalf of Defendants, and thereby severely

damaged, his valuable business reputation with the banking regulatory authorities, the

commercial and investment banking community, the target customer base of U.S.

Finance House, and prospective clients and employers.

       52.     Plaintiff notified Defendants that, on the basis of Defendants’ promises,

Plaintiff terminated his gainful employment, refrained from offering his services to other

clients or potential employers, ceased discussions with such other clients and potential

employers, and performed valuable full-time services to Defendants, including without

limitation, presenting U.S. Finance House to Illinois State banking regulatory authorities,

the commercial banking and investment banking communities, the target customer base,

and prospective officers and employees.

       53.     Plaintiff’s actions in reliance on Defendants’ promise of compensation for

the services performed and Defendants’ commitment to organize, capitalize, license and

operate U.S. Finance House were reasonable, expected and foreseeable by Defendants.

       54.     Defendants’ intentional and fraudulent failure to carry forward its

representations, agreements, promises and commitments to compensate Plaintiff for his

valuable services, and Defendants’ intentional and fraudulent failure to complete the

agreed organization, capitalization, application, licensing and operation of U.S. Finance

House, resulted in foreseeable substantial loss of income to Plaintiff and foreseeable

severe damage to the business reputation of Plaintiff with the banking regulatory




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authorities, the commercial and investment banking community, the target customer base

of U.S. Finance House, and prospective clients and employers.

       55.     Plaintiff reasonably and foreseeably relied on Defendants’ fraudulent

representations and promises to his detriment and was severely economically damaged

thereby.

       WHEREFORE, Plaintiff respectfully request judgment against Defendants in the

amount of $2,046,249.99, representing three times the unpaid agreed compensation, plus

reimbursable expenses, the exact amount to be determined at trial; plus $5,000,000,

compensation for the damage caused to Plaintiff’s personal and business reputation in the

banking industry, the exact amount to be determined at trial; an additional amount equal

to the costs and attorney’s fees pursuant to any available statutory or common law basis;

and further relief as the Court shall deem just and proper.



                                      Respectfully submitted,

Dated: February 20, 2008              KHALED A. SHAIR


                                      By____/s/ Bruce de’Medici ____
                                            One of his attorneys




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